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                   EXHIBIT 6
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     1               UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
     2                     EASTERN DIVISION
     3
            IN RE: NATIONAL                 )
     4      PRESCRIPTION                    )   MDL No. 2804
            OPIATE LITIGATION               )
     5      _____________________           )   Case No.
                                            )   1:17-MD-2804
     6                                      )
            THIS DOCUMENT RELATES           )   Hon. Dan A.
     7      TO ALL CASES                    )   Polster
     8
                          THURSDAY, JULY 11, 2019
     9
            HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    10               CONFIDENTIALITY REVIEW
    11                        – – –
    12              Videotaped deposition of Michael
    13    Mapes, held at the offices of The Mining
    14    Exchange, A Wyndham Grand Hotel & Spa,
    15    8 South Nevada Avenue, Colorado Springs,
    16    Colorado, commencing at 9:41 a.m., on the
    17    above date, before Carrie A. Campbell,
    18    Registered Diplomate Reporter and Certified
    19    Realtime Reporter.
    20
    21
    22                                – – –
    23
                      GOLKOW LITIGATION SERVICES
    24             877.370.3377 ph | 917.591.5672 fax
                            deps@golkow.com
    25

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     1             A.        It is.
     2             Q.        And then what -- did you have
     3    any jobs or positions between 1974 and 1977?
     4             A.        I did.
     5             Q.        What were those?
     6             A.        I was a deputy sheriff for
     7    about two and a half years in Michigan, and
     8    after that I worked for the -- as a civilian
     9    for the Department of the Army as a budget
    10    analyst for about a year.
    11             Q.        And then you applied for a
    12    position at DEA?
    13             A.        Yes.
    14             Q.        What is a diversion
    15    investigator?
    16             A.        Someone that investigates
    17    registrants or potential registrants that
    18    handle controlled substances, investigates
    19    the movement of controlled substances and
    20    diversion of controlled substances from
    21    legitimate channels.
    22             Q.        In the course of your duties as
    23    a diversion investigator, did you conduct
    24    audits or cyclic investigations of
    25    registrants?

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     1             A.        I did.
     2             Q.        Including wholesalers?
     3             A.        Yes.
     4             Q.        In connection with those cyclic
     5    audits -- am I using the correct phrase?
     6             A.        Yes.
     7             Q.        Okay.    In connection with those
     8    cyclic audits, would you review suspicious
     9    order monitoring systems?
    10             A.        Yes.
    11             Q.        Was that a standard part in
    12    your experience of a diversion investigator's
    13    role?
    14             A.        It was.
    15             Q.        And so it was a responsibility
    16    that diversion investigators needed to carry
    17    out with respect to registrants for the field
    18    office to which they were assigned?
    19             A.        That's correct.
    20             Q.        The results of those audits
    21    would be reported on a DEA 6 report?
    22             A.        They would.
    23             Q.        If a diversion investigator
    24    determines that a registrant was not
    25    complying with the regulations, would the

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     1    investigator tell the registrant what that
     2    registrant was doing wrong?
     3                       MR. BENNETT:       Objection.
     4             Incomplete hypothetical.
     5    QUESTIONS BY MS. MCCLURE:
     6             Q.        You can answer.
     7             A.        Yes, they would.
     8             Q.        And that's in your experience
     9    at DEA?
    10             A.        Yes.
    11             Q.        As a diversion investigator?
    12             A.        Yes.
    13             Q.        And later as a group
    14    supervisor, you expected your diversion
    15    investigators to communicate with registrants
    16    about what they were doing wrong?
    17             A.        Yes.
    18             Q.        So that they could correct it?
    19             A.        That's right.
    20             Q.        Was it an expectation in your
    21    experience that a diversion investigator in
    22    such a circumstance would follow up to see if
    23    that issue had been corrected?
    24                       MR. BENNETT:       Objection.       Form.
    25                       THE WITNESS:       It would be

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     1             followed up, whether it was by that
     2             diversion investigator or another one.
     3    QUESTIONS BY MS. MCCLURE:
     4             Q.        Okay.    Audits can also be
     5    conducted outside of the cyclic process if
     6    there was a particular reason or something
     7    came up that suggested that an audit might be
     8    appropriate; is that accurate?
     9             A.        It is.
    10             Q.        What was your next position at
    11    DEA after diversion investigator in
    12    Cleveland?
    13             A.        I was a staff coordinator at
    14    headquarters in Washington, DC.
    15             Q.        And was that for -- for how
    16    long a period of time?
    17             A.        A little less than a year.
    18             Q.        What is the job of a staff
    19    coordinator?
    20             A.        To review the reports from a
    21    field office and the requests from the field
    22    office for assistance with investigative
    23    matters.
    24             Q.        So do I have it correct that a
    25    field office, one of DEA's field offices, may

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     1    prescription-level data?
     2             A.        Correct.
     3             Q.        During your time at DEA, you
     4    became familiar with the regulation regarding
     5    the identification and reporting of
     6    suspicious orders?
     7             A.        Yes.
     8             Q.        To your knowledge, has that
     9    regulation changed since it was issued or
    10    promulgated?
    11             A.        Not that I'm aware of.
    12             Q.        Is that something that you
    13    believe you would have been aware of in your
    14    course of employment at DEA and your
    15    subsequent employment?
    16             A.        Probably.
    17                       (Mapes Exhibit 3 marked for
    18             identification.)
    19    QUESTIONS BY MS. MCCLURE:
    20             Q.        Okay.    I'll hand you what's
    21    been marked as 3.
    22                       If you could take a look at
    23    that and let me know when you've had a chance
    24    to look through it.
    25             A.        I've reviewed it.

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     1             Q.        So when we're talking about the
     2    regulation regarding to the identification
     3    and reporting of suspicious orders, which
     4    section of this Exhibit 3 are we talking
     5    about?
     6             A.        Suspicious orders ends in
     7    1301.74(b).
     8             Q.        And 1301.74(b) defines a
     9    suspicious order to include orders of unusual
    10    size, orders deviating substantially from a
    11    normal pattern and orders of unusual
    12    frequency, right?
    13             A.        Yes.
    14             Q.        Does the regulation explain to
    15    a registrant how to identify an order of
    16    unusual size?
    17                       MR. BENNETT:       Objection.       Form.
    18                       THE WITNESS:       It does not.
    19    QUESTIONS BY MS. MCCLURE:
    20             Q.        Does the regulation explain to
    21    a registrant how to identify an order of
    22    unusual frequency?
    23                       MR. BENNETT:       Objection.       Form.
    24                       THE WITNESS:       It does not.
    25

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     1    QUESTIONS BY MS. MCCLURE:
     2             Q.        Does the regulation explain to
     3    a registrant how to identify an order that
     4    deviates substantially from a normal pattern?
     5                       MR. BENNETT:       Objection.       Form.
     6                       THE WITNESS:       It does not.
     7    QUESTIONS BY MS. MCCLURE:
     8             Q.        Registrants are responsible for
     9    designing their own suspicious order
    10    monitoring systems; is that correct?
    11             A.        It is.
    12             Q.        Is a registrant to take into
    13    account considerations that are unique to
    14    them in designing such a system, for example,
    15    their customer base?
    16             A.        Yes.
    17             Q.        So would one registrant
    18    potentially have a different-looking or
    19    different nature of a customer base than
    20    another registrant?
    21             A.        Yes.
    22             Q.        Is it possible that those
    23    registrants would then have designed
    24    different suspicious order monitoring
    25    systems?

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      1             A.        It's possible.
      2             Q.        Is there a holy grail or
      3    articulated DEA model standard for what
      4    constitutes a suspicious order?
      5                       MR. BENNETT:        Objection.        Form.
      6                       THE WITNESS:        Not that I'm
      7             aware of.
      8    QUESTIONS BY MS. MCCLURE:
      9             Q.        And you've spent your 30-year
     10    career in DEA in diversion-related roles?
     11             A.        Yes.
     12             Q.        Does DEA define for registrants
     13    what essential features are that every
     14    suspicious order monitoring system must have
     15    to be compliant?
     16                       MR. BENNETT:        You can answer.
     17                       THE WITNESS:        They may talk
     18             with industry or with industry
     19             associations about those kind of
     20             things or answer specific questions
     21             from a registrant.
     22    QUESTIONS BY MS. MCCLURE:
     23             Q.        So in your experience, DEA may
     24    answer a specific question from a registrant
     25    about a possible feature that that registrant

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      1                       You can answer.
      2                       THE WITNESS:        Yes.
      3    QUESTIONS BY MS. MCCLURE:
      4             Q.        Meaning that the individual or
      5    entity reviewing that order takes into
      6    account the totality of the circumstances and
      7    makes a determination as to whether that
      8    order is or is not a suspicious order; is
      9    that right?
     10             A.        Yes.
     11             Q.        Have you heard the phrase
     12    "totality of circumstances" previously in the
     13    course of your tenure at DEA?
     14             A.        I have.
     15             Q.        Do you recall in what context
     16    you've heard that?
     17             A.        Discussing suspicious orders.
     18             Q.        And is that a phrase that's
     19    used commonly within DEA or the industry
     20    regarding reporting suspicious orders?
     21             A.        I don't know that it's common.
     22             Q.        Regardless -- okay.
     23                       You've heard the term "totality
     24    of the circumstances" before?
     25             A.        Yes.

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      1             Q.        Okay.     And as we discussed
      2    previously, each customer -- or I'm sorry,
      3    each registrant has a different customer
      4    base, right?
      5             A.        Correct.
      6             Q.        No customer -- or no
      7    registrant's customer base will exactly match
      8    that of another registrant?
      9             A.        Correct.
     10             Q.        And so the information
     11    available to one registrant regarding whether
     12    an order -- let me strike that and start
     13    over.
     14                       The information available to
     15    one registrant about a particular order and
     16    the customer placing it might be different
     17    than the information available to another
     18    registrant?
     19             A.        And you're using -- I don't
     20    quite understand the question yet.
     21             Q.        Okay.     We've talked about how
     22    registrants have different customer bases,
     23    right?
     24             A.        Yes.
     25             Q.        And so when a registrant or a

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      1    wholesaler in this case is evaluating an
      2    order and trying to determine whether it's
      3    suspicious or not --
      4                       Are you with me?
      5             A.        Uh-huh.      Yes.
      6             Q.        -- the information that
      7    Registrant A may have about that order or
      8    that customer may be different than the
      9    information that is available to
     10    Registrant B?
     11                       MR. BENNETT:        Objection.
     12             Vague.      Incomplete hypothetical.
     13                       THE WITNESS:        Yes, they may be
     14             different.
     15    QUESTIONS BY MS. MCCLURE:
     16             Q.        Each registrant conducts its
     17    own due diligence?
     18             A.        They should.
     19             Q.        To your knowledge, they should,
     20    right?
     21             A.        Yes.
     22             Q.        So do registrants, in your
     23    experience, share due diligence files?
     24             A.        No.
     25             Q.        Does the regulation -- I'm

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      1    looking back at Mapes Exhibit 3 -- define the
      2    form or format that a suspicious order report
      3    must take?
      4             A.        It does not.
      5             Q.        Does it say what information is
      6    supposed to be provided to DEA?
      7             A.        No, it doesn't.
      8             Q.        Does the regulation in Mapes
      9    Exhibit 3 say anything about whether a
     10    registrant can ship a suspicious order?
     11                       MR. BENNETT:        Objection.        Form.
     12                       THE WITNESS:        No, it doesn't.
     13    QUESTIONS BY MS. MCCLURE:
     14             Q.        And this section of the
     15    regulation, 1301.74(b), it has not changed
     16    since 1971?
     17             A.        I'm not aware of any changes.
     18             Q.        Are you familiar with excessive
     19    purchase reports?
     20             A.        Yes.
     21             Q.        What are they?
     22             A.        Reports that are sent by
     23    wholesalers of purchases of controlled
     24    substances that they, after the fact, think
     25    may be excessive.

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      1             Q.        Was the submission of excessive
      2    purchase reports, in your experience,
      3    standard practice in the industry?
      4             A.        It was.
      5             Q.        Was there a particular time
      6    that you believe, in your experience, it was
      7    standard practice in the industry to submit
      8    those?
      9             A.        From the time I started with
     10    DEA in 1977 until we had the meetings with
     11    the individual wholesalers, that was the --
     12    the standard practice, to submit those.
     13             Q.        And in your experience, DEA
     14    reviewed those reports as compliant with the
     15    Controlled Substances Act?
     16                       MR. BENNETT:        Objection.
     17             Scope.
     18                       This is not a 30(b)(6) witness
     19             who can speak on behalf of DEA.
     20                       You may answer in your personal
     21             capacity within the limits of the
     22             scope letter.
     23                       THE WITNESS:        Yeah, I viewed
     24             those as compliant with the regulation
     25             for suspicious orders.

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      1    QUESTIONS BY MS. MCCLURE:
      2             Q.        And in your experience of
      3    conducting audits of distribution centers,
      4    that was one of your roles as a diversion
      5    investigator, right?
      6             A.        Yes.
      7             Q.        Conducting audits?
      8             A.        Yes.
      9             Q.        And as a group supervisor, you
     10    would oversee diversion investigators who
     11    were conducting audits?
     12             A.        That's correct.
     13             Q.        And that would include a review
     14    of their suspicious order monitoring systems?
     15             A.        That's correct.
     16             Q.        Including the formats that they
     17    were using to submit and how they were
     18    identifying and reporting suspicious orders
     19    to DEA?
     20             A.        Correct.
     21             Q.        And in the course of your role
     22    as a diversion investigator and a group
     23    supervisor, you accepted these excessive
     24    purchase reports as compliant with the
     25    Controlled Substances Act?

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      1                       MR. BENNETT:        You can answer
      2             that.
      3                       THE WITNESS:        Yes.
      4    QUESTIONS BY MS. MCCLURE:
      5             Q.        You don't recall saying to
      6    anyone, "Hey, you can't submit these kinds of
      7    documents" in the course of your roles as a
      8    diversion investigator or a group supervisor?
      9                       MR. BENNETT:        Objection.
     10             Scope.
     11                       You are not authorized to
     12             disclose information regarding any
     13             specific DEA investigations or
     14             activities.
     15                       You may answer this question
     16             yes or no on whether you remember
     17             saying that.
     18                       THE WITNESS:        Can you repeat
     19             the question?
     20    QUESTIONS BY MS. MCCLURE:
     21             Q.        I can.
     22                       You don't recall saying to
     23    anyone, a registrant, for example, "You can't
     24    submit these kinds of excessive purchase
     25    reports and still be compliant with the

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      1    Controlled Substances Act" in your role as a
      2    diversion investigator or a group supervisor?
      3                       MR. BENNETT:        Same objection.
      4                       You can answer.
      5                       THE WITNESS:        No, I don't
      6             remember saying that.
      7    QUESTIONS BY MS. MCCLURE:
      8             Q.        And we've been talking about
      9    excessive purchase reports, but sometimes
     10    people -- registrants would call them by
     11    different names.
     12                       Do you recall that, or in your
     13    experience were they all called excessive
     14    purchase reports?
     15             A.        Generally referred to as
     16    excessive purchase reports.               Could be called
     17    suspicious order reports.
     18             Q.        And were they generally in a
     19    similar format across the industry?
     20                       MR. BENNETT:        Objection.        Form.
     21             Vague.
     22                       You can answer it.
     23    QUESTIONS BY MS. MCCLURE:
     24             Q.        Do you understand my question?
     25             A.        Yes.

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      1                       They were in different formats
      2    depending on the company that was sending
      3    them.     Some would send computer printouts.
      4    Some would send copies of invoices.                   So there
      5    are different ways that they were sent.
      6             Q.        They generally provided the
      7    same kind of information?
      8             A.        Yes.
      9             Q.        About purchases and sales that
     10    had already happened?
     11             A.        Correct.
     12             Q.        And DEA accepted those?
     13                       MR. BENNETT:        Objection.
     14    QUESTIONS BY MS. MCCLURE:
     15             Q.        In your personal experience?
     16                       MR. BENNETT:        Scope.
     17                       You're not here as a 30(b)(6)
     18             witness to answer on behalf of DEA.
     19                       You may answer in your personal
     20             capacity of what you did.
     21                       THE WITNESS:        Yes, we accepted
     22             those.
     23                       MR. LANIER:        Did he say -- I'm
     24             trying to be careful -- "we" after you
     25             told him not to speak for the DEA but

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      1             himself?
      2                       MS. MCCLURE:        Mark --
      3                       MR. BENNETT:        I believe that
      4             was his testimony, yes.
      5                       MS. MCCLURE:        That is his
      6             testimony.
      7                       MR. LANIER:        Okay.
      8    QUESTIONS BY MS. MCCLURE:
      9             Q.        So in your personal experience,
     10    were you the only one who accepted these?
     11                       MR. BENNETT:        You can answer.
     12                       THE WITNESS:        No other groups
     13             accepted the same type of reports.
     14    QUESTIONS BY MS. MCCLURE:
     15             Q.        So saying "we" is referring to
     16    you and those other groups, right?
     17             A.        The others that I was
     18    supervising at the time.
     19             Q.        So in the course of your role
     20    as a diversion investigator, as well as the
     21    time when you acted as a group supervisor and
     22    had diversion investigators reporting to you,
     23    yes?
     24             A.        Yes.
     25             Q.        Are you aware of DEA

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      1    headquarters approving particular suspicious
      2    order monitoring systems submitted by a
      3    registrant at any time in your experience at
      4    DEA?
      5                       MR. BENNETT:        Objection.        Form.
      6                       You can answer.
      7                       THE WITNESS:        I do recall one
      8             time that I was in headquarters and we
      9             received a letter from a wholesaler
     10             about their suspicious order
     11             monitoring program, and we told them
     12             that it did comply with the
     13             requirements in the regulation.
     14    QUESTIONS BY MS. MCCLURE:
     15             Q.        What role were you in when you
     16    received that letter?
     17             A.        The deputy chief of liaison and
     18    policy.
     19             Q.        And when you say "we" received
     20    that letter, were you personally involved
     21    with the approval of that suspicious order
     22    monitoring system?
     23                       MR. BENNETT:        You can answer.
     24                       THE WITNESS:        Yes.
     25

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      1    QUESTIONS BY MS. MCCLURE:
      2             Q.        Who else is encompassed within
      3    that "we" that you've provided?
      4             A.        A staff coordinator that
      5    reviewed the incoming correspondence from the
      6    company, drafted the response to the company
      7    and then sent it to me for approval, or in
      8    this case signature, to send it to the
      9    company.
     10             Q.        Did you sign that?
     11             A.        Yes.
     12             Q.        And what company was that?
     13             A.        AmerisourceBergen.
     14             Q.        Can you think of any other
     15    instances in which you have a personal
     16    recollection of DEA's approval of a
     17    suspicious order monitoring system?
     18             A.        No, I cannot.
     19                       (Mapes Exhibit 4 marked for
     20             identification.)
     21    QUESTIONS BY MS. MCCLURE:
     22             Q.        I'm going to mark an exhibit as
     23    4.    This is a series of letters exchanged,
     24    and they're all going to be amalgamated as
     25    one exhibit for today.

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      1                       If you could take a look
      2    through those letters and let me know when
      3    you've had a chance to review them.
      4             A.        Okay.     I've generally reviewed
      5    them.
      6             Q.        Now, when I was previously
      7    asking you about approvals, you recalled a
      8    situation in which you had signed a letter to
      9    AmerisourceBergen.
     10                       Is that a different set of
     11    letters or a letter that is not this set
     12    that's marked as Exhibit 4?
     13             A.        Yes, it's not included in here.
     14             Q.        Okay.     So let me back up.
     15                       This set of letters is dated in
     16    the '96 to '98 time period, right?                  Over a
     17    time span through '96, '97, and then ending
     18    in June 23rd -- I'm sorry, July 23, '98,
     19    right?
     20             A.        Correct.
     21             Q.        And these are exchanged between
     22    the Department of Justice, DEA Enforcement
     23    Administration -- I'm sorry, the Drug
     24    Enforcement Administration and Chris
     25    Zimmerman at Bergen, right?

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      1             A.        Correct.
      2             Q.        So not AmerisourceBergen
      3    because this predated the merger with
      4    Amerisource.
      5                       Are you aware of that?
      6                       MR. BENNETT:        Objection.        Form.
      7                       THE WITNESS:        Could you restate
      8             the question?
      9    QUESTIONS BY MS. MCCLURE:
     10             Q.        Yes, I can.
     11                       As of 1998, Bergen was a
     12    separate company from Amerisource.
     13                       Do you know that, or am I
     14    telling you --
     15             A.        Yes.
     16             Q.        You are aware of that?
     17             A.        Yes, I am.
     18             Q.        Okay.     You previously told me
     19    you had signed a letter approving a system
     20    that AmerisourceBergen had.
     21                       Was that a later letter that
     22    was subsequent to the 2001 merger between
     23    Amerisource and Bergen, or was that a letter
     24    that you recall being part of this exchange
     25    with Bergen?

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      1             A.        It was subsequent to this.               It
      2    was after the merger of Amerisource and
      3    Bergen.
      4             Q.        Do you recall the approximate
      5    time period of the approval letter that you
      6    recall signing regarding AmerisourceBergen's
      7    suspicious order monitoring program that had
      8    to have been after 2001, which was the merger
      9    of those two companies?
     10                       MR. BENNETT:        Objection.        Form.
     11                       THE WITNESS:        No, I don't
     12             recall the time frame.
     13    QUESTIONS BY MS. MCCLURE:
     14             Q.        Can we agree it would have --
     15    you recall it being AmerisourceBergen, so
     16    after the merger in 2001, if I'm telling you
     17    the correct date of the merger, right?
     18             A.        Yes.
     19             Q.        Would it have been prior to
     20    2007, which is when there was a settlement
     21    and release agreement executed between DEA
     22    and AmerisourceBergen?
     23             A.        Yes.
     24             Q.        So sometime in between 2001 and
     25    2007, you recall a different exchange of

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      1    letters that is not reflected here in Mapes
      2    Exhibit 4 in which you signed a document, a
      3    letter, approving AmerisourceBergen's
      4    suspicious order monitoring system?
      5             A.        That's correct.
      6             Q.        In your experience at DEA,
      7    would letters approving suspicious order
      8    monitoring systems be things that were
      9    retained, kept by DEA?
     10                       MR. BENNETT:        Objection.
     11             Scope.      Calls for speculation.
     12                       You can answer.
     13                       THE WITNESS:        Generally all
     14             correspondence was retained.
     15    QUESTIONS BY MS. MCCLURE:
     16             Q.        Okay.     So is it reasonable to
     17    think that a letter approving a suspicious
     18    order monitoring system, of which you can
     19    only recall one instance of it happening,
     20    would be something that would be retained by
     21    DEA?
     22                       MR. BENNETT:        Objection.
     23             Scope.      Calls for speculation.
     24                       You can answer.
     25                       THE WITNESS:        Yes.

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      1    QUESTIONS BY MS. MCCLURE:
      2             Q.        So you don't recall when in
      3    between '01 and '07 this would have been?
      4             A.        It would have been while I was
      5    deputy chief of the liaison and policy
      6    section, so it would have been during that
      7    time frame.
      8             Q.        And would you be so kind as to
      9    remind me to the best of your recollection
     10    when that time frame was?
     11                       MR. BENNETT:        Objection.        Asked
     12             and answered.
     13                       MS. MCCLURE:        Yeah, it is asked
     14             and answered.
     15                       MR. BENNETT:        You can answer.
     16                       MS. MCCLURE:        I just don't
     17             remember.
     18                       MR. BENNETT:        You can answer
     19             again.
     20    QUESTIONS BY MS. MCCLURE:
     21             Q.        Was that approximate --
     22                       MR. BENNETT:        Wait a second.
     23                       MS. MCCLURE:        Okay.
     24                       MR. BENNETT:        You have a
     25             question pending.

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      1                       MS. MCCLURE:        Yeah, I have a
      2             question pending, you're right.
      3                       THE WITNESS:        I can't recall
      4             the exact dates of that.
      5    QUESTIONS BY MS. MCCLURE:
      6             Q.        But that was immediately prior
      7    to you becoming chief of the E-Commerce
      8    section in 2004?
      9             A.        No, it was immediately prior to
     10    me becoming chief of the administrative
     11    section.
     12             Q.        Planning and resources?
     13             A.        The planning and resources
     14    section.
     15             Q.        And you did that from
     16    approximately 2003 to 2004 as to your prior
     17    testimony?
     18             A.        Correct.
     19             Q.        So can we limit the time period
     20    for when this letter would have been as
     21    sometime between 2001 and then 2003 when you
     22    took over the chief of the planning and
     23    resources section?
     24             A.        Yes.
     25             Q.        Division?       Section?

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      1             A.        Section.
      2             Q.        Section.
      3                       Okay.     So between '01 and '03.
      4                       Understanding you've been gone
      5    from DEA since 2007, do you have a copy of
      6    this letter in your personal possession?
      7             A.        No.
      8             Q.        Do you recall to whom you sent
      9    this letter approving of AmerisourceBergen's
     10    suspicious order monitoring system sometime
     11    between 2001 and 2003?
     12             A.        To Chris Zimmerman at
     13    AmerisourceBergen.
     14             Q.        How did that letter come about?
     15    What led to you -- strike that.
     16                       What led to you issuing that
     17    letter?
     18                       MR. BENNETT:        Objection.
     19             Scope.
     20                       You are not authorized to
     21             disclose the internal deliberative
     22             process of the Department of Justice
     23             or any attorney-client communication
     24             or privileged conversations.
     25                       To the extent you can answer

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      1             the question without disclosing that
      2             information, you may answer.
      3                       THE WITNESS:        It was in
      4             response to a letter from
      5             AmerisourceBergen.
      6    QUESTIONS BY MS. MCCLURE:
      7             Q.        Was that letter from
      8    AmerisourceBergen from Chris Zimmerman?
      9             A.        It was.
     10             Q.        Did you know Chris Zimmerman at
     11    the time -- in this 2001 to 2003 time period?
     12             A.        No.
     13             Q.        And you said you recall a staff
     14    coordinator passing that letter on to you for
     15    evaluation?
     16             A.        To review, yes.
     17             Q.        What do you recall, if
     18    anything, doing to evaluate the request?
     19             A.        I don't --
     20                       MR. BENNETT:        Objection.        Same
     21             instruction regarding the internal
     22             deliberative process.
     23                       You can answer.
     24                       THE WITNESS:        I don't recall.
     25

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      1             A.        No, I've seen it other times
      2    between the time I retired and yesterday.
      3             Q.        Do you recall how you saw it
      4    those other times?
      5             A.        It was from a registrant, I
      6    can't remember which one, but a registrant
      7    that sent it to me that had received it from
      8    DEA.
      9             Q.        Do you recall whether it would
     10    have been shortly after this letter was sent
     11    in the early course of your consulting work,
     12    or was it later than that, if you can --
     13             A.        It was later than that.
     14             Q.        So it's fair to say from your
     15    answers that you, it seems, did not review
     16    this letter prior to it being issued, say, in
     17    the last months of your tenure at DEA?
     18                       MR. BENNETT:        Objection.
     19             Scope.
     20                       You're not authorized to
     21             disclose the internal deliberations of
     22             DEA.
     23                       You may answer that question
     24             yes or no only, whether you saw it
     25             prior to leaving DEA, a draft.

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      1                       THE WITNESS:        No, I did not.
      2    QUESTIONS BY MS. MCCLURE:
      3             Q.        If we look at paragraph 3 of
      4    this letter, the second sentence says,
      5    "Filing a monthly report of completed
      6    transactions, e.g., excessive purchase report
      7    or high unit purchases, end parens, does not
      8    meet the regulatory requirement to report
      9    suspicious orders."
     10                       Based on your experience at
     11    DEA, was this a change in how DEA handled
     12    suspicious order reporting?
     13                       MR. BENNETT:        Objection.
     14             Scope.
     15                       You're not here as a 30(b)(6)
     16             witness to talk on behalf of DEA.
     17                       You may disclose your personal
     18             knowledge regarding this topic from
     19             your time at DEA, what you personally
     20             did.
     21                       THE WITNESS:        I believe from my
     22             experience it was a change.
     23    QUESTIONS BY MS. MCCLURE:
     24             Q.        Because previously in your
     25    experience at DEA excessive purchase reports

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      1    had been accepted by DEA for suspicious order
      2    reporting as you previously testified,
      3    correct?
      4                       MR. BENNETT:        Objection.
      5             Scope.      This is not a 30(b)(6) witness
      6             that can answer on behalf of DEA.
      7                       You may answer what you
      8             personally did while at DEA in
      9             response to that question.
     10                       THE WITNESS:        It was a change
     11             that was started, from my experience,
     12             when we had the meetings with
     13             individual wholesalers, individual
     14             distributors, starting in 2005.
     15    QUESTIONS BY MS. MCCLURE:
     16             Q.        So in 2005, which you've just
     17    referenced, you began talking with
     18    distributors on something called the
     19    Distributor Initiative?
     20             A.        That's correct.
     21             Q.        Whose idea was the Distributor
     22    Initiative?
     23                       MR. BENNETT:        Objection.
     24             Scope.      Objection.
     25                       You're not to disclose internal

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      1                       THE WITNESS:        They may know
      2             about that.        If their salespeople were
      3             in the pharmacy and talked to the
      4             pharmacist, they may know those
      5             things.
      6    QUESTIONS BY MS. MCCLURE:
      7             Q.        Okay.     Do you recall whether
      8    you or others with whom you worked, to the
      9    extent you know, sent this kind of
     10    information out frequently or whether it was
     11    uncommon?
     12                       MR. BENNETT:        Objection.
     13             Vague.      Compound.
     14                       THE WITNESS:        Uncommon.
     15    QUESTIONS BY MS. MCCLURE:
     16             Q.        In the course of your
     17    employment at DEA, you were aware that
     18    registrants were shipping orders that had
     19    been reported to DEA as suspicious, right?
     20                       MR. BENNETT:        Objection.
     21             Scope.
     22                       This is beyond the scope that
     23             this witness has been authorized.
     24                       You may answer based on your
     25             personal recollection.

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      1                       THE WITNESS:        After having the
      2             distributor briefings with individual
      3             wholesalers, I don't recall instances
      4             where products that were reported as
      5             suspicious were shipped.
      6    QUESTIONS BY MS. MCCLURE:
      7             Q.        Does the Controlled Substances
      8    Act say that registrants should not ship
      9    suspicious orders?
     10                       MR. BENNETT:        Objection.        Form.
     11             Calls for a legal conclusion.
     12                       You can answer based on your
     13             personal capacity, not on behalf of
     14             DEA.
     15                       If you know.
     16                       THE WITNESS:        Not specifically,
     17             no.
     18    QUESTIONS BY MS. MCCLURE:
     19             Q.        And if an order is unusual in
     20    size, frequency or pattern, do you agree that
     21    that does not necessarily mean that that
     22    order is going to be diverted?
     23                       MR. BENNETT:        Objection.
     24             Vague.      Objection.       Incomplete
     25             hypothetical.

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      1                       You can answer it.
      2                       THE WITNESS:        I agree.
      3    QUESTIONS BY MS. MCCLURE:
      4             Q.        And so the fact that an order
      5    or a portion of an order is diverted after a
      6    distributor ships it, would you agree that
      7    that does not make that order that has
      8    already been shipped now suspicious, if it
      9    was not suspicious at the time it was
     10    shipped?
     11                       MR. BENNETT:        Objection.
     12             Vague.      Objection.       Calls for
     13             speculation.        Legal conclusion.
     14                       You may answer in your personal
     15             capacity but not on behalf of DEA.
     16                       THE WITNESS:        I don't really
     17             understand the nuances there.
     18    QUESTIONS BY MS. MCCLURE:
     19             Q.        Okay.     If an order is not
     20    suspicious and is therefore filled and
     21    shipped and later downstream is diverted,
     22    that fact of that diversion does not now
     23    render the order suspicious; do you agree
     24    with that?
     25                       MR. BENNETT:        Objection.        Same

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      1             objections.
      2                       You can answer in your personal
      3             capacity.
      4                       THE WITNESS:        Yes.
      5    QUESTIONS BY MS. MCCLURE:
      6             Q.        Similarly, if an order is
      7    regarded as suspicious but is shipped, would
      8    you agree that that order is not necessarily,
      9    in fact, going to be diverted?
     10                       MR. BENNETT:        Objection.        Calls
     11             for speculation.          Vague.      Incomplete
     12             hypothetical.         Outside the scope.
     13                       You may answer in your personal
     14             capacity but not on behalf of DEA.
     15                       THE WITNESS:        Yes.
     16                       MS. MCCLURE:        It's 1:06.        I'm
     17             going to suggest we go ahead and take
     18             a lunch break.         That may allow us to
     19             streamline.
     20                       MR. BENNETT:        Okay.      That's
     21             fine.
     22                       VIDEOGRAPHER:         We're going off
     23             record.      The time is 1:06.
     24              (Off the record at 1:06 p.m.)
     25                       VIDEOGRAPHER:         We're going back

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      1    pharmacies."
      2                       Do you see that language there?
      3             A.        I do.
      4             Q.        Can you explain the exception
      5    for retail chain pharmacies?
      6             A.        No, I didn't discuss that
      7    particular exception with him, so I don't
      8    know why he included that.
      9             Q.        Did you review Mr. Zimmerman's
     10    PowerPoint prior to co-presenting with him at
     11    this DEA-sponsored industry conference?
     12             A.        I'm not sure he had a
     13    PowerPoint.
     14                       (Mapes Exhibit 17 marked for
     15             identification.)
     16    QUESTIONS BY MS. MCCLURE:
     17             Q.        Show you a document that is
     18    marked Mapes 17.
     19             A.        I've reviewed this.
     20             Q.        So does this refresh your
     21    recollection that Chris Zimmerman had a
     22    PowerPoint that he presented at the
     23    September 11, 2007 industry conference?
     24             A.        No, I still don't remember the
     25    presentation details.

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      1             Q.        Okay.     I'm not asking if you
      2    remember the presentation details.                  I'm just
      3    asking if you recall that Chris Zimmerman
      4    stood on stage with you and made a
      5    presentation and that it had a PowerPoint
      6    attached in connection with it.
      7             A.        We were both --
      8                       MR. BENNETT:        Objection.
      9             Compound.
     10                       You can answer.
     11                       THE WITNESS:        We were both on
     12             stage for a presentation, but I don't
     13             remember the PowerPoint.
     14    QUESTIONS BY MS. MCCLURE:
     15             Q.        Okay.     Was there anyone else
     16    from DEA who presented on this changed
     17    AmerisourceBergen program along with
     18    Mr. Zimmerman, or was it only you?
     19             A.        It was just Mr. Zimmerman and
     20    myself.
     21             Q.        Do you recall referring to this
     22    changed program as the new industry standard?
     23             A.        No, I don't recall that.
     24             Q.        Do you believe that -- was it
     25    your understanding that it was expected by

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      1    DEA, to your understanding, to serve as a new
      2    standard?
      3                       MR. BENNETT:        Objection.
      4             Scope.
      5                       You're not authorized as a
      6             30(b)(6) witness to speak on behalf of
      7             DEA.     You may answer based on your
      8             personal understanding at the time.
      9                       THE WITNESS:        It's my
     10             understanding that the
     11             AmerisourceBergen system was an
     12             example of a system that contained the
     13             type of information that we were
     14             looking for.
     15    QUESTIONS BY MS. MCCLURE:
     16             Q.        And was compliant with the
     17    Controlled Substances Act?
     18             A.        Yes.
     19             Q.        And was being carried out in
     20    connection with the program that you had
     21    reviewed based on your personal, on-site
     22    reviews of those distribution centers?
     23             A.        Yes.
     24             Q.        If you turn to page 9 of
     25    whatever this PowerPoint exhibit is --

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      1                       MR. BENNETT:        Mapes 17.
      2                       MS. MCCLURE:        Thank you.        Yes,
      3             Mapes 17.
      4    QUESTIONS BY MS. MCCLURE:
      5             Q.        -- which has little Bates
      6    numbers on it that end in 1786.
      7                       It says, "Historically,
      8    controlled substance" -- I'm looking at the
      9    second and third bullet -- "slash, listed
     10    chemical order monitoring has been based on a
     11    ship and report process."
     12                       And the next bullet, "ABC's OMP
     13    process is now based on identify, capture,
     14    investigate and report suspicious orders, all
     15    prior to shipment."
     16                       Do you see that language?
     17             A.        Yes, I do.
     18             Q.        And was it your understanding
     19    that this was one of the new features of the
     20    changed program that AmerisourceBergen had
     21    developed?
     22             A.        Yes.
     23             Q.        And this was new not just to
     24    AmerisourceBergen but to the wholesale
     25    industry?

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      1    that.
      2                       Do you recall actually visiting
      3    pharmacies on behalf of ABDC?
      4             A.        Yes.
      5             Q.        Do you recall how often?
      6             A.        Generally it would be two or
      7    three times a year for a week, but seeing
      8    several pharmacies in that week's time in a
      9    part of the country.
     10             Q.        What kind of activities would
     11    you perform at the pharmacy?
     12             A.        Looking at the pharmacies,
     13    seeing what kind of customers they had, what
     14    kind of drugs they were selling, the
     15    relationship between the pharmacy and the
     16    physicians, discussing issues with the
     17    pharmacist.
     18             Q.        Did anyone from ABDC accompany
     19    you on these visits to pharmacies?
     20             A.        Yes, every time.
     21             Q.        And do you know whether ABDC
     22    was also performing other on-site visits at
     23    pharmacies that you were not personally
     24    involved with?
     25             A.        Yes, they were.

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      1             Q.        Did you also perform audits of
      2    AmerisourceBergen Drug Corporation's
      3    suspicious order monitoring program?
      4             A.        Yes, I did.
      5             Q.        How many times did you audit
      6    the order monitoring program?
      7             A.        Annually for five or six years.
      8             Q.        And do you recall concluding
      9    that ABDC's suspicious order monitoring
     10    program for those audits that you conducted
     11    was in compliance with the Controlled
     12    Substances Act?
     13             A.        That's not the review that I
     14    was conducting.
     15             Q.        Tell me about the review that
     16    you were conducting.
     17             A.        I was looking at it to
     18    determine if it was in compliance with the
     19    ABC policies and procedures.
     20             Q.        Okay.     And those ABC policies
     21    and procedures were the policies and
     22    procedures that were developed in connection
     23    with the changed program in 2007, correct?
     24             A.        In conjunction with that and
     25    changes that were made subsequent to that.

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      1             Q.        Okay.     So it would have been
      2    the policies and procedures that were enacted
      3    that you would have reviewed back in 2007
      4    during your time at DEA, as well as any
      5    updates or improvements that had been made to
      6    them subsequent?
      7             A.        Yes.
      8             Q.        And did you determine that ABDC
      9    was in compliance with its policies and
     10    procedures for these annual audits?
     11             A.        There were generally issues to
     12    discuss, improvements to be made, but
     13    generally in compliance, yes.
     14             Q.        Going back to excessive
     15    purchase reports.
     16                       DEA's acceptance of excessive
     17    purchase reports changed at some point,
     18    correct?
     19                       MR. BENNETT:        Objection.
     20             Scope.
     21                       You're not authorized to speak
     22             on behalf of DEA.          You may speak on
     23             your personal knowledge of what you
     24             observed while working at DEA.
     25                       THE WITNESS:        The nature of the

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      1             reports that I was involved with that
      2             were accepted did change, yes.
      3    QUESTIONS BY MS. MCCLURE:
      4             Q.        And what was the change?
      5             A.        It was change from a report
      6    that was called an excessive purchase report
      7    after the fact to a report that was of
      8    specific suspicious orders before they were
      9    shipped.
     10             Q.        And that's the change that
     11    we've talked about that AmerisourceBergen had
     12    in the April, May, June 2007 time period that
     13    you reviewed, correct?
     14             A.        Yes.
     15             Q.        Were you aware of any industry
     16    participants making that change prior to that
     17    program that you reviewed in April, May and
     18    June of 2007?
     19             A.        I don't recall the exact dates
     20    when other companies were making the changes,
     21    but it was a change that happened routinely
     22    after we had the Distributor Initiative
     23    meeting with companies.
     24             Q.        And was this -- do you know if
     25    this was viewed by industry, based on your

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      1    registration fees?
      2             A.        The majority is registration
      3    fees.     There are also a few positions that
      4    are from appropriated funds, but very few.
      5             Q.        Earlier today you testified
      6    about the emergence of Internet pharmacies in
      7    the early 2000s.
      8                       Do you recall that testimony?
      9             A.        Yes, I do.
     10             Q.        Internet pharmacies represented
     11    a significant shift in pharmaceutical
     12    diversion, correct?
     13                       MR. BENNETT:        Objection.
     14             Vague.
     15                       You can answer.
     16                       THE WITNESS:        They did
     17             represent a shift.
     18    QUESTIONS BY MR. EPPICH:
     19             Q.        There were concerns that DEA's
     20    anti-diversion group was understaffed to
     21    address the Internet pharmacy issue?
     22             A.        I don't recall those concerns,
     23    no.
     24             Q.        DEA decided that one way to
     25    help combat the Internet pharmacies would be

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      1    to establish this Internet Distributor
      2    Initiative, correct?
      3                       Excuse me, the Internet -- let
      4    me strike that.
      5                       One way that -- and DEA decided
      6    that one way to combat the Internet pharmacy
      7    issue would be to establish the Distributor
      8    Initiative, correct?
      9                       MR. BENNETT:        You can answer.
     10                       THE WITNESS:        Yes.
     11    QUESTIONS BY MR. EPPICH:
     12             Q.        And these Distributor
     13    Initiative meetings were meant to educate
     14    distributors about Internet pharmacies?
     15             A.        Yes.
     16             Q.        And during the Distributor
     17    Initiative meetings, you introduced
     18    additional diligence, guidance and
     19    instructions to distributors to confirm that
     20    a distributor is not servicing a rogue
     21    Internet pharmacy, correct?
     22                       MR. BENNETT:        Objection.
     23             Vague.
     24                       THE WITNESS:        To help them
     25             understand what to look at to

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      1             determine if a customer is a rogue
      2             Internet pharmacy.
      3    QUESTIONS BY MR. EPPICH:
      4             Q.        The objective of this
      5    additional diligence that you were requesting
      6    out of distributors was for the distributors
      7    to be able to identify those rogue Internet
      8    pharmacy customers of theirs, correct?
      9             A.        Yes.
     10             Q.        You were not intending the
     11    additional diligence to require distributors
     12    to investigate the inner workings of every
     13    independent pharmacy across America that they
     14    may service, correct?
     15                       MR. BENNETT:        Objection.
     16             Vague.      Objection.       Scope.
     17                       You may speak on your personal
     18             capacity but not on behalf of DEA in
     19             response to this question.
     20                       THE WITNESS:        I was expecting
     21             that over time they would use the same
     22             procedures for all the pharmacies that
     23             they were dealing with to be certain
     24             that there wasn't a problem that they
     25             wouldn't see without the extra due

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      1             diligence.
      2    QUESTIONS BY MR. EPPICH:
      3             Q.        And the problem that they were
      4    to be looking for was whether or not they
      5    were an Internet pharmacy?
      6             A.        An Internet pharmacy or any
      7    pharmacy that was selling drugs for other
      8    than legitimate medical purpose.
      9             Q.        Such as a pill mill, correct?
     10             A.        Yes.
     11             Q.        Now, during the distributor
     12    briefings, you told distributors that you
     13    were not concerned with large retail chain
     14    pharmacies at the time, correct?
     15             A.        No.
     16             Q.        That's not correct?
     17             A.        I don't believe so.
     18             Q.        Do you recall instructing
     19    distributors at the distributor briefings to
     20    conduct due diligence on retail chain
     21    pharmacies?
     22             A.        I don't recall that we made a
     23    distinction between retail chain pharmacies
     24    and independent pharmacies.
     25             Q.        In asking the distributors to

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      1    QUESTIONS BY MR. EPPICH:
      2             Q.        But it's not always, is it,
      3    sir?
      4             A.        I don't think so.
      5             Q.        You'd agree with me the
      6    distributors have no insight into determining
      7    whether a doctor has overprescribed opioids
      8    to her patient?
      9                       MR. BENNETT:        Objection.        Form.
     10             Calls for speculation.             Incomplete
     11             hypothetical.
     12                       THE WITNESS:        Generally not.
     13    QUESTIONS BY MR. EPPICH:
     14             Q.        Are you familiar with the term
     15    "illegal prescribing"?
     16             A.        Yes.
     17             Q.        What is illegal prescribing?
     18             A.        Prescribing controlled
     19    substances for other than a legitimate
     20    medical purpose.
     21             Q.        Is illegal prescribing a form
     22    of diversion?
     23             A.        Yes.
     24             Q.        You'd agree with me that
     25    illegal prescribing contributes to the opioid

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      1    crisis?
      2             A.        Yes.
      3             Q.        Earlier today you testified
      4    about meetings that you had with the
      5    plaintiffs' counsel in 2018.
      6                       Do you remember that testimony?
      7             A.        Yes.
      8             Q.        I believe you said you had two
      9    meetings, one in the summer and one in the
     10    fall of 2018, correct?
     11             A.        Yes.
     12             Q.        Now, did you -- during those
     13    meetings with the plaintiffs' counsel in
     14    2018, did you tell plaintiffs' counsel that
     15    the DEA had approved the distributors'
     16    submission of excessive purchase reports
     17    after orders had been shipped?
     18             A.        I believe that was discussed,
     19    yes.
     20             Q.        Did you tell plaintiffs'
     21    counsel during those meetings that in your
     22    experience excessive purchase reports
     23    complied with the requirements of the
     24    Controlled Substances Act and its
     25    regulations, at least for your time at DEA

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      1    between 1977 and the distributor briefings?
      2             A.        Yes.
      3             Q.        Did you tell plaintiffs'
      4    counsel during these meetings in 2018 that
      5    the Controlled Substances Act and its
      6    regulations do not include a no shipping
      7    requirement?
      8             A.        I don't believe so.
      9             Q.        You didn't discuss the no
     10    shipping requirement?
     11             A.        I don't recall that
     12    specifically.
     13             Q.        During these meetings with the
     14    plaintiffs' counsel in 2018, did you tell
     15    plaintiffs' counsel the distributor briefings
     16    focused on Internet pharmacy issues?
     17             A.        Yes.
     18             Q.        Did you tell plaintiffs'
     19    counsel that the additional diligence you
     20    requested of distributors at these
     21    distributor briefings was to help identify
     22    Internet pharmacies?
     23             A.        I don't recall specifically
     24    that was how it was worded.
     25             Q.        But something similar?

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      1             A.        Yes.
      2             Q.        At these meetings with
      3    plaintiffs' counsel in 2018, did you tell
      4    plaintiffs' counsel that distributors had no
      5    access to the ARCOS data submitted by other
      6    distributors?
      7             A.        I don't believe so.
      8             Q.        Did you discuss ARCOS data with
      9    the plaintiffs' counsel in 2018?
     10             A.        There was a discussion of ARCOS
     11    data, what it consists of and what's
     12    available.
     13             Q.        Did you discuss who had access
     14    to ARCOS data during your meetings with
     15    plaintiffs' counsel?
     16             A.        I don't recall if we did.
     17             Q.        After your discussions with the
     18    plaintiffs' counsel, the plaintiffs did not
     19    contact you to ask you to serve as an expert
     20    for plaintiffs in this case, correct?
     21             A.        That's correct.
     22             Q.        Do you recall what other topics
     23    you discussed with plaintiffs' counsel during
     24    these meetings in 2018?
     25             A.        Not really.        It was just a

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      1             record.      The time is 4:20.
      2              (Off the record at 4:20 p.m.)
      3                       VIDEOGRAPHER:         We're going on
      4             the record.        Beginning of Media
      5             File 10.      The time is 4:34.
      6                             EXAMINATION
      7    QUESTIONS BY MR. STEPHENS:
      8             Q.        Mr. Mapes, good afternoon.               My
      9    name's Neal Stephens.             I'm from the Jones Day
     10    law firm, and I represent Walmart.
     11                       We met earlier today, but you
     12    and I have never spoken before?
     13             A.        That's correct.
     14             Q.        Okay.     I'll also be asking you
     15    some questions, not just on Walmart's behalf
     16    but also on behalf of retail chain
     17    pharmacies.        And for your benefit, that will
     18    include CVS, Rite Aid, Walgreens and HBC and
     19    Giant Eagle.
     20                       Okay?
     21             A.        Yes.
     22             Q.        Okay.     All right.
     23                       And since I'm going last, I've
     24    carved out a lot of material out of my
     25    outline, but I do have a couple follow-up

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      1    questions on some of the topics that you've
      2    already testified to today.
      3                       Okay?
      4             A.        Okay.
      5             Q.        And the first one is, there was
      6    a series of questions from a couple of my
      7    colleagues that related to shipping orders
      8    that had been flagged as suspicious.
      9                       Do you recall that line of
     10    questions?
     11             A.        Yes.
     12             Q.        And you had indicated that at
     13    some point you were aware that registrants
     14    had a practice of shipping orders that had
     15    been reported as suspicious.
     16                       Do you recall that?
     17             A.        That had been reported before
     18    2005 in excess -- in suspicious or excessive,
     19    that they had shipped those.
     20             Q.        I'm just -- right.
     21                       So my point is that you were
     22    just aware that there had been a practice at
     23    some point in time that orders that had been
     24    flagged as potentially suspicious had still
     25    been shipped.         I'm just trying to reorient

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      1    you --
      2             A.        Yes.
      3             Q.        -- to that testimony.            Okay?
      4                       Now, is it fair --
      5                       MR. BENNETT:        Objection.
      6             Mischaracterizes his testimony.                 He
      7             said suspicious or excessive, not just
      8             suspicious.
      9    QUESTIONS BY MR. STEPHENS:
     10             Q.        Okay.     Is it fair to say that
     11    you're not aware of any deadline that DEA set
     12    that changed this practice related to the
     13    shipping of suspicious orders?
     14             A.        I'm aware that the practice was
     15    changed as we had meetings with wholesalers
     16    in 2005 and beyond; that then they changed
     17    from sending the excessive or suspicious
     18    orders after the fact, and they started doing
     19    it ahead of the fact and then resolving that
     20    suspicion before they shipped.
     21             Q.        Okay.     Mr. Mapes, but are you
     22    aware of any deadline that was set, any date
     23    certain set by DEA sent out to the
     24    registrants, as to what date that practice
     25    had to change?

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      1                       MR. BENNETT:        Objection.        Asked
      2             and answered.
      3                       THE WITNESS:        I'm not aware of
      4             a specific deadline.
      5    QUESTIONS BY MR. STEPHENS:
      6             Q.        Okay.     All right.        Another
      7    topic that you addressed earlier today in the
      8    first session of questioning related to what
      9    DEA's expectations were of various
     10    registrants about how they designed their SOM
     11    system.
     12                       Do you recall that line of
     13    questions?
     14             A.        Yes.
     15             Q.        And just to reorient you, it
     16    was basically along the lines of your
     17    expectation was that a SOMs system for a
     18    registrant was not a one-size-fits-all
     19    proposition, correct?
     20             A.        Correct.
     21             Q.        It would depend on the
     22    registrant's business model, right?
     23             A.        Yes.
     24             Q.        Okay.     And it's a situation
     25    where, for example, some distributors supply

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      1    them about the issues presented by rogue
      2    Internet pharmacies?
      3             A.        That's correct.
      4             Q.        Can you recall how many
      5    meetings you personally attended?
      6             A.        No.
      7             Q.        Can you estimate?
      8                       Was it more than ten?
      9             A.        My estimate is 10 or 12.
     10             Q.        Okay.     But it wouldn't have
     11    been more than 15?
     12             A.        I'm not really certain.
     13             Q.        Okay.     How about this:          It
     14    wouldn't have been more than 20?
     15             A.        Probably not.
     16             Q.        Okay.     Were there others?            Did
     17    you have other colleagues at DEA during this
     18    time frame that you're aware of who were also
     19    meeting with wholesale distributors on this
     20    distributor briefing?
     21             A.        There were others after I
     22    retired from DEA who were doing it.                   I think
     23    I was involved in every one of the
     24    distributor briefings while I was still
     25    there.

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      1             Q.        Okay.     And can you refresh me
      2    on when these briefings started?
      3                       Was it 2005?
      4             A.        Yes.
      5             Q.        Okay.     And you retire in
      6    mid-2007?
      7             A.        October of 2007, yes.
      8             Q.        You remember that date, right?
      9             A.        Yes.
     10             Q.        Okay.     After 30 years, you can
     11    remember that date, right?
     12                       Okay.     Fair enough.
     13                       All right.       So in between 2005
     14    and October of 2007, your recollection is, is
     15    that there were about 12 or so Internet
     16    distributor briefings that you conducted with
     17    wholesale distributors?
     18             A.        Yes.
     19             Q.        Okay.     And was each of those
     20    like a one-on-one meeting between DEA and one
     21    wholesale distributor?
     22             A.        One distributor, several people
     23    from the distributor at times, sometimes an
     24    individual, and sometimes with counsel,
     25    sometimes without.

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      1             Q.        Okay.     So my point, Mr. Mapes,
      2    is your recollection of the entirety of the
      3    number of wholesale distributors who received
      4    this briefing during your career at DEA is
      5    about 12?
      6             A.        About that.
      7             Q.        Okay.     How did DEA -- or how
      8    did you select which wholesale distributor
      9    was going to receive the briefing?
     10             A.        We started at first with
     11    Amerisource, Cardinal and McKesson because
     12    they're obviously those with the largest
     13    volume, and then we went to lower volume
     14    distributors such as HD Smith and others that
     15    were maybe regional distributors, not
     16    nationwide distributors, that kind of thing.
     17             Q.        Okay.     So you've identified
     18    four.
     19                       Can you recall any of the other
     20    eight or so that you met with during your
     21    career?
     22             A.        Not right now, I can't.
     23             Q.        You did not meet with Walmart
     24    to provide an Internet distributor briefing
     25    between 2005 and 2007, correct?

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      1             A.        That's correct.
      2             Q.        Do you agree that during this
      3    time frame DEA acknowledged in presentations
      4    that it made that no chain pharmacies were
      5    rogue pharmacies?
      6                       MR. BENNETT:        You can answer.
      7                       THE WITNESS:        I don't believe
      8             that was in DEA presentations.
      9    QUESTIONS BY MR. STEPHENS:
     10             Q.        Okay.     Let me see if I can
     11    refresh your recollection.
     12             A.        Okay.
     13                       (Mapes Exhibit 19 marked for
     14             identification.)
     15    QUESTIONS BY MR. STEPHENS:
     16             Q.        So I'm going to show you what's
     17    been marked as Deposition Exhibit Number 19.
     18    It's a document that is Bates-numbered
     19    US-DEA-00002413.
     20                       And if you look at the very
     21    first slide, it says "Internet Pharmacies."
     22    It's got Mr. Rannazzisi's name there, and
     23    it's a slide deck.
     24                       Do you see that?
     25             A.        Yes.

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      1             Q.        And I'd ask you to turn to
      2    Slide 50 in the presentation.                It's almost
      3    all the way at the back, Mr. Mapes.
      4                       Do you see that?
      5             A.        I do.
      6             Q.        And Slide 50 details -- the
      7    title is "The Rogue Pharmacy."
      8                       Do you see that?
      9             A.        Yes.
     10             Q.        Do you see the second bullet?
     11             A.        Yes.
     12             Q.        What does the second bullet
     13    say?
     14             A.        "No chain pharmacies."
     15             Q.        Okay.     And does this appear to
     16    you to be a presentation that DEA provided on
     17    the topic of Internet pharmacies?
     18                       MR. BENNETT:        Objection.
     19             Foundation.
     20                       And I also object that the
     21             witness did not have a chance to
     22             review the entire document or
     23             understand the context of the
     24             particular slide that you pointed him
     25             out to.

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      1             Scope.      Vague.     Incomplete
      2             hypothetical.         Calls for speculation
      3             and calls for a legal conclusion.
      4                       THE WITNESS:        I believe the DEA
      5             should take some appropriate action,
      6             and that should be expected.
      7    QUESTIONS BY MR. STEPHENS:
      8             Q.        Okay.     Let me switch gears here
      9    a little bit.
     10                       And what I'd like to do is ask
     11    you some questions about some of -- some of
     12    the investigative techniques that DEA has
     13    that may be different than what a registrant
     14    might be able to do as it's setting up its
     15    SOM program.
     16                       Okay?
     17             A.        Okay.
     18             Q.        During your tenure as a DEA
     19    investigator, were there occasions where you
     20    were able to identify a potential diverter
     21    based on information that DEA developed as
     22    opposed to information that was provided to
     23    DEA by a registrant in a suspicious order
     24    report?
     25                       MR. BENNETT:        Objection.

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      1             Scope.
      2                       You may answer that question
      3             yes or no only.
      4                       THE WITNESS:        Yes.
      5    QUESTIONS BY MR. STEPHENS:
      6             Q.        Okay.     Would you agree that DEA
      7    has unique law enforcement investigative
      8    powers that are available to DEA to identify
      9    potential diverters that are not available to
     10    a registrant like Walmart?
     11                       MR. BENNETT:        Objection.
     12             Vague.
     13                       THE WITNESS:        Yes.
     14    QUESTIONS BY MR. STEPHENS:
     15             Q.        Okay.     DEA has subpoena power,
     16    for example, correct?
     17             A.        That's correct.
     18             Q.        Walmart does not have subpoena
     19    power to subpoena a doctor, correct?
     20             A.        Not that I'm aware of.
     21             Q.        Okay.     Now, DEA can issue
     22    subpoenas to help investigate potential
     23    diversion, right?
     24                       MR. BENNETT:        Objection.        Form.
     25

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      1    QUESTIONS BY MR. STEPHENS:
      2             Q.        Based on your experience, do
      3    you agree that DEA can issue a subpoena to
      4    help investigate potential diverters?
      5                       MR. BENNETT:        You can answer,
      6             if you know.
      7                       THE WITNESS:        Yes.
      8    QUESTIONS BY MR. STEPHENS:
      9             Q.        Okay.     And during your time at
     10    DEA, DEA collected information in diversion
     11    investigation through subpoenas?
     12                       MR. BENNETT:        Objection.
     13             Scope.
     14                       You may answer that question
     15             yes or no only.
     16                       THE WITNESS:        Yes.
     17    QUESTIONS BY MR. STEPHENS:
     18             Q.        To your knowledge, did Joe
     19    Rannazzisi ever authorize you or anyone else
     20    to share information with any registrant the
     21    DEA had obtained through subpoenas?
     22                       MR. BENNETT:        Objection.
     23             Scope.
     24                       You may answer that question
     25             yes or no only.

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      1                       THE WITNESS:        No.
      2    QUESTIONS BY MR. STEPHENS:
      3             Q.        Would you agree that search
      4    warrants are a second vehicle that provide
      5    DEA an investigative tool that registrants
      6    like Walmart do not have?
      7                       MR. BENNETT:        You can answer.
      8                       THE WITNESS:        Yes.
      9    QUESTIONS BY MR. STEPHENS:
     10             Q.        Okay.     DEA can apply to a
     11    magistrate judge to obtain a search warrant,
     12    right?
     13             A.        Yes.
     14             Q.        And a search warrant would give
     15    DEA the ability to potentially search rogue
     16    pain clinics to obtain documents that might
     17    advance a diversion investigation the DEA is
     18    conducting?
     19             A.        That's correct.
     20                       MR. BENNETT:        Objection.
     21             Objection.       Scope.
     22                       You can answer that yes or no
     23             only based on your personal
     24             experiences.
     25                       THE WITNESS:        Yes.

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      1    QUESTIONS BY MR. STEPHENS:
      2             Q.        Okay.     Based on your personal
      3    experience, Mr. Mapes, DEA also can obtain
      4    what is known as an ISP search warrant, an
      5    Internet service provider search warrant,
      6    which allows DEA to intercept e-mail
      7    communications which would include
      8    conversations between a doctor and the
      9    doctor's patients that might relate to
     10    diversion, true?
     11                       MR. BENNETT:        Objection.
     12             Scope.
     13                       You are authorized to answer
     14             whether you know of a document
     15             entitled an "ISP search warrant" in
     16             your personal experience, yes or no
     17             only.
     18                       THE WITNESS:        No.
     19    QUESTIONS BY MR. STEPHENS:
     20             Q.        You've never heard of an ISP
     21    search warrant?
     22             A.        No.
     23             Q.        Okay.     All right.
     24                       But just on the topic of search
     25    warrants generally, we'll go to premises

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      1    search warrant, which is the first example I
      2    gave you where you go to a magistrate, the
      3    magistrate authorizes DEA to go to address X
      4    and DEA conducts a search there.
      5                       You're familiar with those,
      6    right?
      7             A.        Yes.
      8             Q.        Okay.     Now, did Joe Rannazzisi
      9    ever authorize, to your knowledge, anyone at
     10    DEA to disclose to any registrant any
     11    information obtained from a search warrant so
     12    that that registrant could help DEA in a
     13    diversion investigation?
     14                       MR. BENNETT:        Objection.
     15             Scope.
     16                       You may answer that question.
     17                       THE WITNESS:        Not that I'm
     18             aware of.
     19                       MR. BENNETT:        Well --
     20    QUESTIONS BY MR. STEPHENS:
     21             Q.        Okay.
     22                       MR. BENNETT:        He's answered
     23             your question.
     24                       I do object to the scope of
     25             that.     I was going to authorize him to

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      1             answer that yes or no only.
      2                       He has said not to his
      3             knowledge, so we can move on.
      4    QUESTIONS BY MR. STEPHENS:
      5             Q.        And just to reconfirm, Walmart
      6    has no ability to go to a magistrate judge to
      7    obtain a search warrant, right?
      8             A.        That's correct.
      9             Q.        No registrant can go to a
     10    magistrate judge and seek a search warrant,
     11    right?
     12             A.        I wouldn't say that, because
     13    DEA is a registrant, so...
     14             Q.        Okay.     Other than law
     15    enforcement agencies, no private sector
     16    registrant can go to a magistrate and seek a
     17    search warrant; is that fair?
     18             A.        Yes.
     19             Q.        All right.       The use of the
     20    grand jury is a third example of an
     21    investigative technique that is unique to law
     22    enforcement and something that is not
     23    available to private sector registrants,
     24    fair?
     25                       MR. BENNETT:        Objection.

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      1             Scope.      Objection.       Form.     Calls for a
      2             legal conclusion.
      3                       You can answer, if you know, in
      4             your personal knowledge.
      5                       THE WITNESS:        Yes.
      6                       MR. BENNETT:        I'm sorry, I'm
      7             not sure I understand his answer to
      8             your question on whether somebody in
      9             the private sector can go to the grand
     10             jury or not.
     11    QUESTIONS BY MR. STEPHENS:
     12             Q.        Okay.     So let me restate it.
     13                       Based on your experience at
     14    DEA, can anyone other than law enforcement
     15    use the grand jury as a tool to conduct due
     16    diligence on a customer?
     17             A.        No.
     18             Q.        Okay.     Would you agree that the
     19    grand jury is an investigative technique that
     20    is available to law enforcement and law
     21    enforcement only?
     22                       MR. BENNETT:        Objection.
     23             Vague.      Objection.       Calls for a legal
     24             conclusion.
     25                       You can answer in your personal

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      1             knowledge, if you know.
      2                       THE WITNESS:        Yes, it is a
      3             tool.
      4    QUESTIONS BY MR. STEPHENS:
      5             Q.        Okay.     And DEA can subpoena a
      6    suspected diverter to the grand jury and ask
      7    him questions under the penalty of perjury
      8    related to whether that individual has
      9    diverted any controlled substances?
     10                       MR. BENNETT:        Objection.
     11             Vague.      Objection.       Calls for a legal
     12             conclusion.        Objection.       Foundation.
     13                       If you have any personal
     14             knowledge whether DEA can subpoena a
     15             suspected diverter -- oh, and
     16             objection.       Scope.
     17                       You may answer in your personal
     18             knowledge.
     19                       THE WITNESS:        My personal
     20             opinion is that DEA can serve a
     21             subpoena that was issued, but DEA
     22             doesn't issue subpoenas.
     23    QUESTIONS BY MR. STEPHENS:
     24             Q.        Okay.     The subpoena would be
     25    issued by either a federal prosecutor's

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      1    office, a US Attorney's office, or a state
      2    prosecutor's office?
      3             A.        Yes.
      4             Q.        A district attorney's office,
      5    right?
      6             A.        Yes.
      7             Q.        Okay.     If DEA and the
      8    prosecutors believe that a witness has lied
      9    in providing testimony to a grand jury, that
     10    individual could be prosecuted for perjury,
     11    right?
     12                       MR. BENNETT:        Objection.
     13             Incomplete hypothetical.              Calls for a
     14             legal conclusion.          Scope.
     15                       You can answer based on your
     16             personal experience, if you know.
     17                       THE WITNESS:        I haven't had the
     18             personal experience of that happening,
     19             no.
     20    QUESTIONS BY MR. STEPHENS:
     21             Q.        Okay.     Would you agree that
     22    being able to compel witnesses to the grand
     23    jury and answer questions under the penalty
     24    of perjury is a very valuable tool to DEA in
     25    building diversion cases?

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      1                       MR. BENNETT:        Objection.
      2             Vague.      Scope.     Calls for a legal
      3             conclusion.
      4                       You can answer.
      5                       THE WITNESS:        Yes.
      6    QUESTIONS BY MR. STEPHENS:
      7             Q.        And Walmart cannot compel
      8    witnesses to testify in front a grand jury,
      9    correct?
     10             A.        That's correct.
     11             Q.        And the other companies who
     12    you've met today at your deposition, none of
     13    them have the ability to compel any witnesses
     14    to go to a grand jury; is that fair?
     15             A.        That's correct.
     16             Q.        Okay.     Would you agree that
     17    conducting undercover operations present a
     18    fourth example where DEA has unique
     19    investigative tools to conduct diversion
     20    investigations?
     21                       MR. BENNETT:        Objection.
     22             Vague.      Objection.       Scope.
     23                       If you have an opinion, you may
     24             answer that question yes or no only.
     25                       THE WITNESS:        Yes.

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      1    QUESTIONS BY MR. STEPHENS:
      2             Q.        Okay.     For example, based on
      3    your experience conducting diversion
      4    investigations, DEA can use undercover
      5    officers to purchase controlled substances
      6    from diverting Internet pharmacies and pain
      7    clinics?
      8                       MR. BENNETT:        Objection.
      9             Scope.
     10                       You are not authorized to
     11             disclose confidential law enforcement
     12             investigative or intelligence-
     13             gathering and dissemination techniques
     14             whose effectiveness would thereby be
     15             impaired.
     16                       To the extent that you can
     17             answer the question without disclosing
     18             confidential law enforcement
     19             investigative techniques, you can
     20             answer.      Otherwise, you are instructed
     21             not to answer.
     22                       THE WITNESS:        Yes, they can.
     23    QUESTIONS BY MR. STEPHENS:
     24             Q.        Okay.     The undercover officers
     25    in a DEA operation, for example, in a

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      1    diversion investigation, are allowed to
      2    legally tape record the conversations that
      3    they have with the operator of the business
      4    that's under investigation?
      5                       MR. BENNETT:        Objection.
      6             Scope.
      7                       You are not authorized to
      8             disclose confidential law enforcement
      9             techniques or how undercover
     10             investigations are done.              Also, you
     11             are not authorized to draw legal
     12             conclusions.
     13                       I'm instructing you not to
     14             answer that question.
     15                       MR. STEPHENS:         On what --
     16                       MR. FARRELL:        Sustained.
     17                       MR. STEPHENS:         On what basis?
     18                       MR. BENNETT:        That it's a
     19             confidential law enforcement
     20             investigative technique on how they do
     21             investigations and what evidence they
     22             gather.
     23    QUESTIONS BY MR. STEPHENS:
     24             Q.        Are you aware, Mr. Mapes, that
     25    there had been literally thousands of

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      1    investigations that have played out in
      2    courtrooms across the United States of
      3    America where United States Attorneys have
      4    put DEA agents on the stand and have played
      5    tapes of undercover operations to convince
      6    juries to convict drug traffickers under
      7    Title 21?
      8                       MR. BENNETT:        You may answer
      9             that question, based on your personal
     10             knowledge, yes or no only.
     11                       THE WITNESS:        Yes.
     12    QUESTIONS BY MR. STEPHENS:
     13             Q.        Okay.     So then undercover
     14    officers can legally tape record
     15    conversations that they have with the
     16    operators of the businesses that DEA is
     17    investigating; is that fair?
     18                       MR. BENNETT:        Objection.        Calls
     19             for a legal conclusion.             Scope.
     20                       I don't think this witness can
     21             draw a legal conclusion in this
     22             deposition.
     23                       You're asking whether he can
     24             legally tape.         I don't think he's both
     25             authorized to do that or qualified to

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      1             make a conclusion.           Plus, I think it's
      2             an incomplete hypothetical.
      3                       So I'm going to instruct him
      4             that he's not authorized on behalf of
      5             DEA or use any DEA information in
      6             answering that question.
      7                       MR. STEPHENS:         Okay.     I will
      8             move on to conserve time.
      9    QUESTIONS BY MR. STEPHENS:
     10             Q.        Would you agree that Walmart
     11    and CVS, Walgreens, Rite Aid, do not have the
     12    ability to use law enforcement agents to
     13    conduct undercover operations of businesses?
     14                       MR. BENNETT:        Objection.
     15             Vague.      Incomplete hypothetical.
     16             Calls for a legal conclusion.
     17                       You can answer if you have an
     18             opinion.
     19                       THE WITNESS:        No, I'm not
     20             really certain about that.
     21    QUESTIONS BY MR. STEPHENS:
     22             Q.        Okay.     Are you aware that it
     23    might be illegal in certain states for a
     24    private actor, private company, to secretly
     25    tape record conversations with other people?

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      1                       MR. BENNETT:        Objection.
      2             Scope.
      3                       To the extent you have personal
      4             information, you can answer that --
      5             you can give your personal opinion.
      6                       Calls for a legal conclusion.
      7                       THE WITNESS:        I don't know
      8             which states may have which laws, so I
      9             can't really answer that.
     10    QUESTIONS BY MR. STEPHENS:
     11             Q.        So you don't know one way or
     12    the other.        Okay.
     13                       To your knowledge, did Joe
     14    Rannazzisi ever authorize you or anyone else
     15    that you know of at DEA to disclose to
     16    registrants who could help DEA in diversion
     17    investigations information that DEA had
     18    obtained in undercover operations?
     19                       MR. BENNETT:        Objection.
     20             Scope.
     21                       You are not authorized to
     22             disclose information regarding
     23             specific DEA investigations or
     24             activities.        You may answer this
     25             question yes or no only.

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      1                       THE WITNESS:        No.
      2    QUESTIONS BY MR. STEPHENS:
      3             Q.        Okay.     As a fifth example of an
      4    investigative technique that is unique to DEA
      5    and federal law enforcement, would you agree
      6    that DEA, in a local US Attorney's Office,
      7    has the ability to apply to a judge for an
      8    order that would allow DEA to record
      9    telephone calls made by the subject of DEA's
     10    investigation, a Title 3 wiretap?
     11                       MR. BENNETT:        You can answer
     12             that question.
     13                       THE WITNESS:        Yes.
     14    QUESTIONS BY MR. STEPHENS:
     15             Q.        And would you agree that a
     16    Title 3 wiretap allows DEA to listen in to
     17    every discussion over the target's telephone?
     18                       MR. BENNETT:        Objection.
     19             Scope.      Calls for a legal conclusion.
     20             Incomplete hypothetical.
     21                       You can answer, if you know.
     22                       THE WITNESS:        Every call except
     23             for those that are required to be
     24             minimized.
     25

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      1    QUESTIONS BY MR. STEPHENS:
      2             Q.        Okay.     Very good.
      3                       And that's spelled out in the
      4    order that the judge -- the DEA and the
      5    US Attorney's Office present to the judge and
      6    the judge signs, right?
      7             A.        Yes.
      8             Q.        Okay.     All right.        Another form
      9    of electronic surveillance is a room bug.
     10                       Are you familiar with a room
     11    bug?
     12                       MR. BENNETT:        Objection.
     13             Scope.
     14                       He's not authorized to disclose
     15             confidential law enforcement
     16             investigative or intelligence-
     17             gathering techniques, the
     18             effectiveness of which would be
     19             impaired.
     20                       You may answer this question
     21             yes or no only whether you are
     22             familiar with the term "a room bug."
     23                       THE WITNESS:        Yes.
     24    QUESTIONS BY MR. STEPHENS:
     25             Q.        Okay.     A room bug is like a

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      1                       You can answer in your personal
      2             capacity if you have an opinion.
      3                       THE WITNESS:        Yes, it could be.
      4    QUESTIONS BY MR. STEPHENS:
      5             Q.        Okay.     And based on your
      6    30 years at DEA, are you aware of any
      7    situation where Joe Rannazzisi or anyone else
      8    who was running the Office of Diversion
      9    Control ever authorized you or anyone else at
     10    DEA to disclose to a registrant who could
     11    help DEA in a diversion investigation the
     12    information that DEA had obtained through
     13    electronic surveillance?
     14                       MR. BENNETT:        Objection.        Form.
     15             Scope.      Compound.
     16                       You're not authorized to
     17             disclose any information regarding
     18             specific DEA investigations or
     19             activities.
     20                       You may answer this question
     21             yes or no only, if you understand.
     22                       THE WITNESS:        Could you restate
     23             the question?
     24    QUESTIONS BY MR. STEPHENS:
     25             Q.        Sure.

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      1                       Based on your 30 years at DEA,
      2    are you aware of any situation where anyone
      3    who is running the Office of Diversion
      4    Control ever authorized you or anyone else at
      5    DEA to disclose to a registrant who could
      6    help DEA in a diversion investigation with
      7    information that DEA had obtained through
      8    electronic surveillance?
      9                       MR. BENNETT:        Same objections
     10             and instruction.
     11                       THE WITNESS:        No, I'm not.
     12    QUESTIONS BY MR. STEPHENS:
     13             Q.        All right.       Let's talk about
     14    number 6, and that will be information from
     15    state medical boards or state local law
     16    enforcement.         Okay?
     17                       DEA, during your tenure and on
     18    investigations you worked, obtained
     19    information from state and local law
     20    enforcement regarding diversion
     21    investigations the DEA was conducting; is
     22    that accurate?
     23                       MR. BENNETT:        Objection.
     24             Scope.
     25                       You can answer yes or no only.

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      1                       THE WITNESS:        Yes.
      2    QUESTIONS BY MR. STEPHENS:
      3             Q.        Okay.     Would you agree that
      4    private sector registrants like the companies
      5    that you've met here today do not have the
      6    ability to obtain information from state and
      7    local law enforcement investi -- state and
      8    local law enforcement regarding
      9    investigations that state and local law
     10    enforcement is conducting on suspected
     11    diverters?
     12                       MR. BENNETT:        Objection.        Form.
     13             Incomplete hypothetical.              Calls for
     14             speculation.
     15                       You can answer, if you have an
     16             opinion.
     17    QUESTIONS BY MR. STEPHENS:
     18             Q.        Let me strike the question and
     19    ask a better question.
     20             A.        Okay.
     21             Q.        That question wasn't so
     22    artfully crafted, Mr. Mapes.
     23                       Are you aware of any situation
     24    during your tenure at DEA where state and
     25    local law enforcement shared information with

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      1    a registrant related to an investigation that
      2    state and local law enforcement was doing of
      3    a suspected diverter?
      4                       MR. BENNETT:        Objection.
      5             Scope.
      6                       You can answer that question
      7             yes or no only.
      8                       THE WITNESS:        Yes.
      9    QUESTIONS BY MR. STEPHENS:
     10             Q.        Okay.     Would you agree that DEA
     11    can obtain information from state medical
     12    boards regarding investigations that the
     13    state medical board is conducting?
     14                       MR. BENNETT:        You can answer
     15             that question.
     16                       THE WITNESS:        Yes.
     17    QUESTIONS BY MR. STEPHENS:
     18             Q.        Okay.     Are you aware of any
     19    situation where a state medical board
     20    provided information to a non-law enforcement
     21    registrant related to investigation --
     22    pending investigations that the state medical
     23    board was conducting?
     24                       MR. BENNETT:        You can answer
     25             that question yes or no only.

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      1             for a legal conclusion.
      2                       You may answer based on your
      3             personal experience and personal
      4             knowledge while you were at DEA.
      5                       THE WITNESS:        They have not
      6             provided that that I'm aware of.
      7    QUESTIONS BY MR. STEPHENS:
      8             Q.        Okay.     So information from
      9    NADDIS would be a seventh example where DEA
     10    agents can use that information, but private
     11    sector companies cannot obtain that
     12    information related to pending investigations
     13    where the registrant might be able to help
     14    DEA with its diversion investigation?
     15                       MR. BENNETT:        Objection.
     16             Vague.      Form.
     17                       You can answer.
     18                       THE WITNESS:        That's correct.
     19    QUESTIONS BY MR. STEPHENS:
     20             Q.        Okay.     So let's talk about
     21    ARCOS here briefly.
     22                       You testified a little bit
     23    about ARCOS earlier.
     24                       Do you recall that?
     25             A.        Yes.

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      1             Q.        Okay.     Now, DEA could analyze
      2    ARCOS information from all registrants to
      3    develop leads on potential diverters during
      4    your tenure at DEA; is that fair?
      5                       MR. BENNETT:        You can answer
      6             it.
      7                       THE WITNESS:        Yes, it is.
      8    QUESTIONS BY MR. STEPHENS:
      9             Q.        Okay.     And was that information
     10    helpful in advancing DEA diversion
     11    investigations?
     12                       MR. BENNETT:        Objection.
     13             Vague.
     14                       You can answer.
     15                       THE WITNESS:        Yes, it was.
     16    QUESTIONS BY MR. STEPHENS:
     17             Q.        Okay.     During your tenure at
     18    DEA, did DEA share ARCOS information it
     19    received from one distributor with all other
     20    distributors?
     21                       MR. BENNETT:        You can answer
     22             that question.
     23                       THE WITNESS:        No.
     24    QUESTIONS BY MR. STEPHENS:
     25             Q.        So did Mr. Rannazzisi, when he

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      1    ran the Office of Diversion Control, ever
      2    authorize you or anyone else, to your
      3    knowledge, at DEA to disclose to a registrant
      4    who could help advance DEA's investigation of
      5    a suspected diverter with information from
      6    ARCOS that related to information that had
      7    been supplied to DEA from other registrants?
      8                       MR. BENNETT:        Objection.
      9             Scope.      Vague.     Form.
     10                       You can answer that question
     11             yes or no only.
     12                       THE WITNESS:        No.
     13    QUESTIONS BY MR. STEPHENS:
     14             Q.        To your knowledge, did anyone
     15    who ran the Office of Diversion Control at
     16    DEA during your tenure there ever authorize
     17    you or anyone else at DEA to disclose to a
     18    registrant who could help advance DEA's
     19    investigation of a suspected diverter with
     20    information from ARCOS that related to
     21    information that had been supplied to DEA
     22    from other registrants?
     23                       MR. BENNETT:        Objection.        Form.
     24             Scope.      Vague.
     25                       You can answer that question

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      1             yes or no only.
      2                       THE WITNESS:        No.
      3    QUESTIONS BY MR. STEPHENS:
      4             Q.        Okay.     Move on to my next
      5    topic.
      6                       You testified a little bit
      7    earlier about your background and how you had
      8    worked in field divisions and then had gone
      9    to headquarters, right?
     10             A.        Yes.
     11             Q.        And you also provided some
     12    information about how DEA is structured and
     13    how certain squads have DEA enforcement
     14    agents and other squads have DEA diversion
     15    investigators.
     16                       Do you recall that testimony?
     17             A.        Yes.
     18                       MR. BENNETT:        Objection.
     19             Mischaracterizes testimony.
     20                       MR. STEPHENS:         I don't think
     21             so, but...
     22    QUESTIONS BY MR. STEPHENS:
     23             Q.        You also -- during your tenure
     24    at DEA, when you were retiring, is it fair
     25    that there were about 20 field divisions or

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      1    so throughout the country at DEA?
      2                       MR. BENNETT:        You can answer.
      3                       THE WITNESS:        Yes.
      4    QUESTIONS BY MR. STEPHENS:
      5             Q.        And each division is run by a
      6    special agent in charge?
      7             A.        It is.
      8             Q.        And the special agent in charge
      9    is known as the SAC, the S-A-C?
     10             A.        Yes.
     11             Q.        Okay.     And that's the highest
     12    level at a field division, right?
     13             A.        Yes.
     14             Q.        Okay.     And there are a couple
     15    other high-level positions, one of which
     16    would be the assistant special agent in
     17    charge, the ASAC; is that fair?
     18             A.        Fair.
     19             Q.        And another high-level position
     20    in the field is what they call a RAC, a
     21    resident agent in charge, fair?
     22             A.        Yes.
     23             Q.        Okay.     Now, based on your
     24    experience at DEA, how many of -- how many
     25    SACs can you identify that came up through

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      1              UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
      2                    EASTERN DIVISION
      3
            IN RE: NATIONAL                  )
      4     PRESCRIPTION                     )   MDL No. 2804
            OPIATE LITIGATION                )
      5     _____________________            )   Case No.
                                             )   1:17-MD-2804
      6                                      )
            THIS DOCUMENT RELATES            )   Hon. Dan A.
      7     TO ALL CASES                     )   Polster
      8
                            FRIDAY, JULY 12, 2019
      9
              HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
     10                CONFIDENTIALITY REVIEW
     11                       VOLUME II
                                – – –
     12
     13              Videotaped deposition of Michael
     14    Mapes, held at the offices of The Mining
     15    Exchange, A Wyndham Grand Hotel & Spa, 8
     16    South Nevada Avenue, Colorado Springs,
     17    Colorado, commencing at 8:01 a.m., on the
     18    above date, before Carrie A. Campbell,
     19    Registered Diplomate Reporter and Certified
     20    Realtime Reporter.
     21
     22
     23                         – – –
                      GOLKOW LITIGATION SERVICES
     24           877.370.3377 ph | 917.591.5672 fax
                            deps@golkow.com
     25

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      1              A.        That would be the Sudafed.
      2              Q.        Okay.     So this system, this
      3     approval, is for the entire diversion control
      4     program and suspicious order monitoring
      5     system, based on what you've seen in these
      6     letters?
      7              A.        For the entire suspicious order
      8     monitoring system, yes.
      9              Q.        Okay.     Thank you.
     10                        And so looking again at a
     11     demonstrative document that Mr. Lanier had
     12     shown you, I want to make sure I have this
     13     right, that this approved not only the method
     14     of providing information but the system that
     15     was used to identify suspicious orders as
     16     well, correct?
     17              A.        Yes.
     18              Q.        And that this was not just
     19     related to methamphetamines, it was related
     20     to all controlled substances, whether it's
     21     methamphetamine, opioids or anything else
     22     that's regulated under 1301.74(b), correct?
     23              A.        Yes.
     24                        (Mapes Exhibit 33 marked for
     25              identification.)

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      1     QUESTIONS BY MS. MCCLURE:
      2              Q.        I'm going to hand you a
      3     document that's been marked Exhibit 33.
      4                        Let me know when you've had a
      5     chance to review that.
      6              A.        Okay.
      7              Q.        And so you testified in a
      8     lawsuit in West Virginia in 2016, correct?
      9              A.        Yes.
     10              Q.        And in that you testified that
     11     the shift from ship and then report to
     12     instead halt and investigate was a gradual
     13     change, right?
     14              A.        Yes, it was.
     15              Q.        And that the regulations did
     16     not change, but the DEA's interpretation of
     17     them did, right?
     18              A.        Yes.
     19              Q.        And that companies were
     20     responding to DEA's changed interpretation
     21     and then coming up with programs to handle
     22     that new different expectation, right?
     23              A.        That's correct.
     24              Q.        And there was not a date
     25     certain by which companies were expected or

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      1     anticipated to implement the changes to DEA's
      2     new interpretation of 1301.74(b)?
      3              A.        That's correct.
      4              Q.        And so here Mr. Lanier had
      5     excerpted a statement you had made to me
      6     yesterday when I was originally talking to
      7     you, right, and that you had accepted these
      8     excessive purchase reports as compliant with
      9     the Controlled Substances Act, right?
     10                        That's what you testified to
     11     yesterday?
     12              A.        Yes.
     13              Q.        And then Mr. Lanier presented
     14     you with this document that said that
     15     essentially after-the-fact reporting of
     16     suspicious orders has never been in
     17     compliance with federal law according to the
     18     DEA's guidance.
     19                        That testimony, to the extent
     20     that this actually reflects your testimony,
     21     which I don't believe it does, is not
     22     actually consistent with the testimony you
     23     gave earlier yesterday or with the testimony
     24     you gave in 2016 when you were under oath in
     25     that proceeding, correct?

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      1                        MR. BENNETT:       Objection.       Form.
      2                        MR. LANIER:       Objection.       Form.
      3                        MR. BENNETT:       Misstates
      4              testimony.
      5                        THE WITNESS:       The regulation
      6              didn't change.        So the regulation was
      7              still there, but the practice was to
      8              allow them to send the excessive
      9              purchase reports and that that was
     10              considered to be in compliance, even
     11              though the regulation hadn't changed
     12              to allow that or to not allow that.
     13     QUESTIONS BY MS. MCCLURE:
     14              Q.        And so that was -- the
     15     submission of excessive purchase reports was
     16     considered, in your experience at DEA, to be
     17     in compliance with the Controlled Substances
     18     Act for the period of time that those reports
     19     were accepted, correct?
     20              A.        Yes.
     21              Q.        Just one moment.
     22                        And in addition, I just asked
     23     you a question as to whether they were in
     24     compliance with the Controlled Substances
     25     Act.

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      1                        They were also then in
      2     compliance -- I just asked you a question
      3     that stated that they were in compliance --
      4     the acceptance of the excessive purchase
      5     reports is being compliant -- was compliant
      6     with the Controlled Substances Act.
      7                        They were also compliant with
      8     the regulations that underscored and
      9     implemented that act, correct?
     10                        MR. BENNETT:       Objection.
     11              Scope.
     12                        You may answer based on your
     13              personal understanding, but you may
     14              not speak on behalf of DEA.
     15                        THE WITNESS:       Personally we
     16              accepted them, the excessive purchase
     17              reports, as compliant for the
     18              suspicious order monitoring, yes.
     19                        MS. MCCLURE:       Okay.     Thank you,
     20              Mr. Mapes.
     21                        I have no further questions,
     22              and at this time I turn my time over
     23              to counsel for additional defendants.
     24                        Thank you very much.
     25                        MR. LANIER:       Make sure there's

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      1              no fuss.      I'm going to have one of the
      2              other lawyers do our recross.
      3                        Nobody's got any problem with
      4              that, do they?
      5                        Thank you.
      6                        (Mapes Exhibit 34 marked for
      7              identification.)
      8                           RE-EXAMINATION
      9     QUESTIONS BY MR. EPPICH:
     10              Q.        Good afternoon, Mr. Mapes.             My
     11     name is Chris Eppich.            Once again, I'm from
     12     the McKesson company.
     13              A.        Good afternoon.
     14              Q.        I'm going to hand you what I've
     15     marked as Exhibit Number 34 in this
     16     litigation.
     17                        Exhibit 34, Mr. Mapes, is a
     18     partial list of the attorneys in this case.
     19                        Do you see at the top of the
     20     page it says, "1:17-md-02804-DAP, In Re:
     21     National Prescription Opiate Litigation, Dan
     22     Aaron Polster presiding"?
     23                        Do you see that, sir?
     24              A.        I do.
     25              Q.        And then it says "attorneys."

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      1                        Do you see that, sir?
      2              A.        Yes.
      3              Q.        If we could turn to page 2 of
      4     Exhibit 34, the third name down, sir, Richard
      5     W. Fields, do you recognize that name?
      6              A.        Yes.
      7              Q.        Is Mr. Fields the attorney that
      8     you met with during the summer and the fall
      9     2018?
     10              A.        Yes, he's one of them.
     11              Q.        And do you see under
     12     Mr. Fields' name he has his firm name,
     13     Fields, PLLC?
     14                        Do you see that?
     15              A.        Yes.
     16              Q.        And then the address of his
     17     firm?
     18                        Do you see that?
     19              A.        Yes.
     20              Q.        Did you have your meetings at
     21     the Fields law firm in 2018 at that address,
     22     if you recall?
     23              A.        I don't believe it was.
     24              Q.        Do you see under Mr. Fields'
     25     address and e-mail it says the words "lead

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      1     attorney, attorney to be noticed"?
      2                        Do you see that, sir?
      3              A.        Yes.
      4              Q.        Earlier today, plaintiffs'
      5     counsel asked you questions about two of its
      6     expert witnesses, Mr. Jim Geldhof and Mr. Jim
      7     Rafalski.
      8                        Do you remember that
      9     discussion?
     10              A.        Yes, I do.
     11              Q.        Now, in your time at DEA, did
     12     you have an opportunity to work on projects
     13     with Mr. Geldhof?
     14                        MR. BENNETT:       Objection.
     15              Scope.
     16                        You can answer that question
     17              yes or no only.
     18                        THE WITNESS:       Yes.
     19     QUESTIONS BY MR. EPPICH:
     20              Q.        You had the opportunity to
     21     evaluate his work product?
     22              A.        No.
     23              Q.        Do you have any personal
     24     knowledge as to his experience,
     25     qualifications or effectiveness with DEA

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      1              say.
      2     QUESTIONS BY MR. EPPICH:
      3              Q.        You don't recall?
      4              A.        I just don't recall.
      5              Q.        Now, earlier today the
      6     plaintiffs' counsel asked you and showed you
      7     a slide.      He asked you some questions about
      8     other causes of the opioid crisis, e.g.,
      9     illegal prescribing.
     10                        Do you remember this
     11     conversation?
     12              A.        Yes.
     13              Q.        And he asked you whether or not
     14     a good suspicious order monitoring system can
     15     help catch that.
     16                        Do you remember that testimony,
     17     sir?
     18              A.        Yes.
     19              Q.        Are you familiar with HIPAA?
     20              A.        Yes.
     21              Q.        What is HIPAA?
     22              A.        The Health Insurance Privacy
     23     Act or something like that.
     24              Q.        Now, pursuant to that Act,
     25     distributors don't have access to a patient's

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      1      medical records, correct?
      2               A.       Generally, no.
      3               Q.       And distributors are not in the
      4      doctor's office when the doctor and the
      5      patient are talking, are they?
      6               A.       Not in my experience, no.
      7               Q.       Now, you'll recall that
      8      plaintiffs' counsel asked you -- he presented
      9      the following question to you earlier today
     10      in a slide titled "Diversion Control 101."
     11                        He asked you:         "If a company
     12      sees a suspicious order, the company has a
     13      choice to make, ship/sell or hold and
     14      investigate."
     15                        Do you remember this slide?
     16               A.       Yes.
     17               Q.       But this question isn't found
     18      in the Controlled Substances Act, is it?
     19               A.       It doesn't say that
     20      specifically in the Controlled Substances
     21      Act, no.
     22               Q.       And it doesn't say this
     23      specifically in the regulations, correct?
     24               A.       No.
     25               Q.       You started to ask distributors

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      1      to ask themselves this question as a part of
      2      the distributor briefings, correct?
      3               A.       We did.
      4                        MR. EPPICH:        Thank you,
      5               Mr. Mapes.      I have no further
      6               questions.
      7                        We can go off the record.
      8                        VIDEOGRAPHER:         We're going off
      9               the record.       The time is 1:33.
     10                (Off the record at 1:33 p.m.)
     11                        VIDEOGRAPHER:         Going back on
     12               the record.       Beginning of Media
     13               File 7.     Time, 1:39.
     14                        MR. EPPICH:        Just a quick
     15               housekeeping issue.
     16                        For the record, let's go ahead
     17               and mark as Exhibit 4A, document
     18               bearing Bates number ABDCMDL00269347
     19               through 358.
     20                        And let's mark as Exhibit 35
     21               three pages from the demonstratives
     22               that plaintiffs presented this
     23               morning, further marked up by
     24               defendants.
     25                        We can go off.

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Case: Highly
      1:17-md-02804-DAP Doc #:-2362-8
               Confidential           Filed:to08/14/19
                                Subject         Further102Confidentiality
                                                           of 102. PageID #: 383659
                                                                               Review

      1                        (Mapes Exhibit 35 marked for
      2               identification.)
      3                        VIDEOGRAPHER:         Going off record
      4               at 1:40.
      5                (Off the record at 1:40 p.m.)
      6                        VIDEOGRAPHER:         We're going back
      7               on record.      Beginning Media File 8.
      8               The time is 1:59.
      9                        RE-EXAMINATION
     10      QUESTIONS BY MS. FITZPATRICK:
     11               Q.       Good afternoon, Mr. Mapes.              We
     12      met briefly yesterday, but my name is Laura
     13      Fitzpatrick, and I'm here on behalf of the
     14      plaintiffs, and I'm going to take over for
     15      Mr. Lanier for a little bit.
     16                        I want to just kind of reorient
     17      you and the jury here.            I'd like to talk --
     18      just a second.
     19                        I'd like to kind of redirect
     20      us, call this my redirect roadmap that
     21      Ms. Lanier made for me here.
     22                        I'd like to take us from the
     23      muddy waters that you were brought into over
     24      the last, I think, 45 minutes or so, back on
     25      to what I'm going to call clarity road.

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